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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF IOWA
                                   EASTERN DIVISION


MELINDA MYERS, BARBARA                                      19-81
                                               CASE NO.: ____________
STANERSON, and JOHN EIVINS, on Behalf
of Themselves and Others Similarly Situated, Removed from the Iowa District Court in and
                                             for Johnson County, No. LACV081138
      Plaintiffs,

v.
                                                              NOTICE OF REMOVAL
IOWA BOARD OF REGENTS,

       Defendant.


       COMES NOW, Defendant Iowa Board of Regents (“BOR”) pursuant to 28 U.S.C. §§ 1331,

1441, and 1446 and Federal Rule of Civil Procedure 81, and gives Notice of Removal of Case No.

LACV081138 from the Iowa District Court for Johnson County to this Court. In support of this action,

BOR states the following:

       1.      On August 19, 2019, plaintiffs filed an action entitled Melinda Myers, Barbara

Stanerson, and John Eivins, on Behalf of Themselves and Others Similarly Situated, Case No.

LACV081138, in the Iowa District Court in and for Johnson County. Plaintiffs’ cause of action was

limited to a single state law claim pursuant to Iowa Code § 91A.

       2.      On October 7, 2019, plaintiffs filed a Motion to Amend Class Action Petition seeking

leave of court to pursue additional claims, including a claim made pursuant to the Fair Labor Standards

Act, 29 U.S.C. § 207.

       3.      On October 21, 2019, the Court granted plaintiffs’ Motion to Amend allowing plaintiffs

leave to file the Amended Class Action Petition. The Court ordered the proposed amendment would

stand without necessity of further filing. As such, plaintiffs’ Amended Class Action Petition asserting
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claim pursuant to the Fair Labor Standards Act, 29 U.S.C. § 207, was deemed filed as of October 21,

2019. The state court in which the lawsuit was commenced is within this Court’s district and division.

        4.      Counsel for plaintiffs are:

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        Rush & Nicholson, P.L.C.
        115 First Avenue SE, Ste. 201
        P.O. Box 637
        Cedar Rapids, IA 52406-0637
        nate@rushnicholson.com

        Harold Lichten
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        5.      Plaintiffs filed their Motion for Leave to file their Amended Class Action Petition, which

for the first time presented a federal question based upon the Fair Labor Standards Act, 29 U.S.C. § 207,

on October 7, 2019. It was on October 21, 2019 that the Court granted plaintiffs’ Motion for Leave to

file the Amended Class Action Petition and ordered the amendment to stand without further filing. These

events occurred within 30 days of this Notice of Removal.

        6.      The parties have conducted no discovery.

        7.      The case is within this Court’s jurisdiction under 28 U.S.C. § 1331 because plaintiffs’

Amended Class Action Petition presents a federal question—i.e., arising under the laws of the United

States. Specifically, Count III of plaintiffs’ Amended Class Action Petition alleges a violation of the Fair

Labor Standards Act, 29 U.S.C. § 207.

        8.      Plaintiffs’ additional state law claims fall within the Court’s supplemental jurisdiction

under 28 U.S.C. §1367 because the claims are part of the same case or controversy as the federal claim.

28 U.S.C. § 1367(a).

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        9.         This case is properly removed to this Court pursuant to 28 U.S.C. §§ 1441 and 1446.

Pursuant to 28 U.S.C. § 1446(b), this Notice is being filed within 30 days of filing of the Amended Class

Action Petition.

        10.        Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal will be filed promptly

with the state court and served upon opposing counsel.

        11.        Pursuant to 28 U.S.C. § 1446(a) and Local Rule 81(a), copies of all process, pleadings,

and orders filed in the state case are attached to the Local Rule 81(a) List on Removal, which is filed

contemporaneously herewith.

        WHEREFORE, Defendant Iowa Board of Regents notifies this Court, the state court, and the

parties of the removal of this lawsuit to the United States District Court for the Southern District of Iowa,

Eastern Division.

        Respectfully submitted this 25th day of October, 2019



                                                          /s/ Andrew T. Tice
                                                          Andrew Tice (AT0007968)
                                                          AHLERS & COONEY, P.C.
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                                                          ATTORNEYS FOR DEFENDANT
                                                          IOWA BOARD OF REGENTS




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Electronically filed and served:
                                                            CERTIFICATE OF SERVICE
Nathan Willems                         The undersigned certifies that the foregoing instrument was served upon all
Rush & Nicholson, P.L.C.               parties to the above cause to each of the attorneys of record herein at their
                                       respective addresses disclosed on the pleadings on:           October 25, 2019

                                                                                           ☐
115 First Avenue SE, Ste. 201
P.O. Box 637                           By:    ☐      U.S. Mail                                      Fax
Cedar Rapids, IA 52406-0637                   ☐      Hand delivery                         ☐        Private Carrier
                                              ☒                                            ☐
nate@rushnicholson.com
                                                     Electronically (via CM/ECF)                    E-mail

Harold Lichten                         Signature:          /s/ Pam Norelius
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